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IN THE UNITEI) STATES DISTRICT coURT wh;
FoR THE WESTERN DISTRICT oF TENNESSEE nner _ m l ._ D.C
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UNITED STATES OF AMERICA )
Plaintiff, §
VS § CR. NO. 05-20024-M1
MOHAMAD IBRAHIM §
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Mohamad Ibrahim, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI YAZOO CITY,
P. 0. Box 5050, Yazoo City, MS 39194 by 2:00 p.m. on FRIDAY, AUGUST S, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant Will report as ordered to the facility named above.
/

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HIPPS McCALLA
U(l:lN ED STATES DISTRICT JUDGE

ENTEREI) this the L) day ofJuly, 2005.

 

Th|s document entered on the docket sheet fn comp| anne
with Ru|e 55 and/or 32(b) FF\CrP on 2 jj ’Qé

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED s…ATEISTIC COUR - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 16 in
case 2:05-CR-20024 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Russell X. Thompson

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Stephen C. Parker

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Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

